             Case 18-32106 Document 118 Filed in TXSB on 05/23/18 Page 1 of 3



                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION
    In re:                                                  §
                                                            §
    ERIN ENERGY CORPORTON, et al., 1                        §                       CASE NO. 18-32106
                                                            §
                        Debtors.                            §                           CHAPTER 11
                                                            §
                                                            §                      (Jointly Administered)
                     NOTICE OF APPEARANCE AND REQUEST FOR NOTICE
                    COMBINED WITH REQUEST FOR ALL COPIES PURSUANT
                       TO BANKRUPTCY RULE 2002(a) AND PLEADINGS
                     PURSUANT TO BANKRUPTCY RULES 3017(a) AND 9007

             STAFF WEEMS, LLP, on behalf of JDR Cable Systems Limited, requests that all notices

given or required to be given in this case and in any cases consolidated herewith, and all papers

served or required to be served in this case be given to and served upon:

                                                    Richard W. Staff
                                                       Jeff Weems
                                                   Staff Weems LLP
                                                6363 Woodway, Ste. 1100
                                                  Houston, Texas 77057
                                                Telephone: (281) 903-5988
                                                   Fax: (281) 903-5992
                                                 rstaff@staffweems.com
                                                jweems@staffweems.com
                                                       With a copy to:

                                                   Alistair Mackie
                                            JDR Cable Systems Limited
                                             Littleport Innovation Park
                                                    177 Wisbech
                                             Littleport Cambridgeshire
                                           UNITED KINGDOM CB6 1 RA
             This request encompasses all notices, copies, and pleadings referred to in rules 2002, 3017,



1
 The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other Debtors in these
cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin Petroleum Nigeria Limited (“EPNL”).
The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston TX 77056.
        Case 18-32106 Document 118 Filed in TXSB on 05/23/18 Page 2 of 3



and 9007 of the Bankruptcy Rules of Procedure, including but not limited to notices of any orders,

motions, demands, complaints, petitions, pleadings, requests, applications, and any other documents

brought before this court in this case, whether formal or informal, written or oral, or transmitted or

conveyed by mail, delivery, telephone, telegram, telex, or otherwise, which affect or seek to affect

this case.

        Please take further notice that the foregoing request for notice and service of papers is not a

submission by JDR Cable Systems Limited, to the jurisdiction of the Bankruptcy Court nor a waiver

of its respective rights to: (a) receive service of process for any complaint or subpoena; (b) have

final orders in non-core matters entered only after de novo review by a District Judge; (c) trial by

jury in any proceedings so triable in these cases, controversies, or proceedings related to these cases;

(d) have the District Court withdraw reference in any matter subject to mandatory or discretionary

withdrawal; or (e) waive any other rights, claims, actions, defenses, setoffs, or recoupments to which

JDR Cable Systems Limited, or may be entitled, in law or in equity, all of which are expressly

reserved.

Date: May 23, 2018
                                               Respectfully submitted,
                                               /s/ Richard W. Staff
                                               Richard W. Staff
                                               STAFF WEEMS LLP
                                               Richard W. Staff
                                               State Bar No. 18991330
                                               Federal ID No. 9754
                                               rstaff@staffweems.com
                                               Jeff Weems
                                               State Bar No. 21027600
                                               Federal ID No. 12155
                                               jweems@staffweems.com
                                               6363 Woodway, Suite 1100
                                               Houston, TX 77057
                                               Phone: 281.903.5988
                                               Fax: 281.903.5992
                                               ATTORNEYS FOR JDR                CABLE      SYSTEMS
                                               LIMITED
        Case 18-32106 Document 118 Filed in TXSB on 05/23/18 Page 3 of 3



                                  CERTIFICATE OF SERVICE

         The undersigned certifies that on May 23, 2018, a true and correct copy of this document
 was served via the Court’s electronic case filing system upon the parties listed below and all parties
 requesting electronic notice of all filings.

 Debtors:

Erin Energy Corporation
Erin Energy Limited
Erin Energy Kenya Limited
Erin Petroleum Nigeria Limited
1330 Post Oak Boulevard
Suite 2250
Houston, TX 77056

 Debtors’ Counsel:

Matthew S. Okin David L.
Curry, Jr. John Thomas Oldham
Ryan A. O’Connor
OKIN ADAMS LLP
1113 Vine St, Suite 201
Houston, Texas 77002
Tel: 713.228.4100
Fax: 888.865.2118

 US Trustee:

Christine March,
Sr. Assistant U.S. Trustee
Stephen Statham, Trial Attorney
Hector Duran, Trial Attorney
Office of the U.S. Trustee
515 Rusk, Suite 3516
Houston, TX 77002


                                                 /s/ Richard W. Staff
                                                 Richard W. Staff
